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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



EDWARD P. MANTURUK,

               Plaintiff,                             CASE NO. 02-73905

-vs-                                                  PAUL D. BORMAN
                                                      UNITED STATES DISTRICT JUDGE
MIDLAND NATIONAL LIFE
INSURANCE COMPANY et al.,

            Defendants.
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     ORDER: (1) DENYING PLAINTIFF’S MOTION TO ALTER OR AMEND OR
FOR RELIEF FROM JUDGMENT; AND (2) CORRECTING CLERICAL OVERSIGHT
                 PURSUANT TO RULE 60(a)

       Plaintiff brings a Motion to Alter to Amend or For Relief From Judgment (“Plaintiff’s

Motion”) pursuant to Federal Rules of Civil Procedure 59(a) and 60(a) and (b). On April 22,

2005, this Court issued an Order Denying Plaintiff’s Motion for Enlargement of Time, or in the

Alternative, Motion for Partial Reconsideration of the Court’s January 31, 2005 Order, and

Accepting Magistrate Judge Scheer’s Sanctions Order and Entering it as the Conclusions and

Findings of the Court (“April 22, 2005 Order”). The procedural history of Plaintiff’s Motion is

set forth below.

       On November 5, 2004, Magistrate Judge Scheer entered an Order after hearing oral

argument, granting the Defendants’ Motion for Sanctions (“Sanctions Order”) and awarding

attorney’s fees and expenses to the Defendants.


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       On November 16, 2004 Plaintiff brought a Motion for a Federal Rule of Civil Procedure

72(a) Review/Appeal of the Sanctions Order. On January 31, 2005 this Court issued an Order

(1) Treating Magistrate Judge Scheer’s Findings and Conclusions as a Report and

Recommendation under Fed. R. Civ. P. 72(b) and (2) Granting Plaintiff an Opportunity to File

Objections by February 10, 2005.

       On February 10, 2005 Plaintiff filed a motion requesting an extension under Federal Rule

of Civil Procedure 6(b), or in the alternative a motion for partial reconsideration of the January

31, 2005 Order to allow Plaintiff additional time to file his objections without waiving his

appellate rights. Plaintiff sought an extension because he alleged that the transcript of the

October 28, 2004 hearing before Magistrate Judge Scheer was unavailable before the Court

imposed deadline. The found that there was no good cause under Federal Rule of Civil

Procedure 6(b) to enlarge the Court imposed deadline in its April 22, 2005 Order.

       Plaintiff instantly requests relief from the Court’s April 22, 2005 Order denying

Plaintiff’s request for enlargement of time to file objections to Magistrate Judge Scheer’s Report

and Recommendation. Plaintiff brings his motion pursuant to Federal Rules of Civil Procedure

59(a) and 60(a) and (b). Rule 59(a) provides:

       ...the court may open the judgment if one has been entered, take additional testimony,
       amend findings of fact and conclusions of law or make new findings and conclusions,
       and direct the entry of a new judgment.

Fed.R.Civ.P. 59(a).

       Rules 60(a) and (b) provide in pertinent part:

       (a) Clerical Mistakes. Clerical mistakes in judgments, orders or other parts of the record
       and errors therein arising from the oversight or omission may be corrected by the court at
       any time of its own initiative or on the motion of any party and after such notice, if any,
       as the court orders.

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       (b) Mistakes, Inadvertance; Excusable Neglect; Newly Discovered Evidence; Fraud, etc.
       On motion and upon such terms as are just, the court may relieve a party or a party’s
       legal representative from a final judgment, order, or proceeding for ... (1) mistake,
       inadvertence, surprise, or excusable neglect; ... or (6) any other reason justifying relief
       from the operation of the judgment.

Fed.R.Civ. P. 60(a), (b).

       Plaintiff argues that the Court erroneously denied its request for additional time on based

upon an incorrect finding that the October 28, 2004 transcript was available on February 10,

2005. The Court rejects Plaintiff’s contention. The Court was fully aware of the record when

issuing its April 22, 2005 Order. As the Court set forth in its April 22, 2005 Order:

       The parties have been litigating this issue of sanctions since September, 2004, and the
       Plaintiff could have filed her objections based upon the pleadings already in his
       possession to comply with the Court’s deadline, and then sought additional time to file
       any transcript related objections.

(April 22, 2005 Order at 2). Regardless of the availability of the transcript, it is well established

that Plaintiff failed to comply with the Court’s deadline by filing objections. Plaintiff failed to

meet the Court’s deadline, which should be noted that the Court granted after Plaintiff already

had the opportunity to respond to Defendants’ initial motion for sanctions filed on September 27,

2004, and argue before Magistrate Judge Scheer on October 28, 2004. The Court appropriately

denied Plaintiff’s Motion for an enlargement of time. Plaintiff’s Motion is DENIED.

       However, the Court in its discretion, pursuant Federal Rule of Civil Procedure 60(a),

infra, will correct a clerical oversight in the April 22, 2005 Order which incorrectly recited the

attorney’s fees and expenses to be paid pursuant to Magistrate Judge Scheer’s Sanctions Order.

The April 22, 2005 Order shall be corrected to include $4,755.31 in attorneys’ fees and expenses

to be paid to Allianz Life Insurance Company and $4,968.50 in attorney’s fees and expenses to

be paid to James R. Chaffee and Chaffee & Associates in conformity with Magistrate Judge

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Scheer’s Sanctions Order.

SO ORDERED.




                                            s/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: July 8, 2005

                                CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
July 8, 2005.


                                            s/Jonie Parker
                                            Case Manager




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